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Exhibit 87 -
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6/5/2017 ndap Mail - ChannelReply

Mike Dash <mdash@ndap-ilc.com>

 

 

ChannelReply

David Gitman <dgitman@ndap-lic.com> Mon, Jun 5, 2017 at 12:46 PM
To: Michael Dardashtian <mdash@ndap-lic.com>

Cc: Konstantyn Bagaiev <Konstantyn@channelreply.com>, Aleksey Glukharev <aleksey@channelreply.com>, Umar Farooq
<umar@farcoqco.com>

We're happy fo discuss ChannelReply with you after you agree to the following. There is no “deal” to be made here.

- You will issue Alice 15% of CPK today.

- You will produce an executed Settlement, Release and Escrow Agreement from Parts Authority today.
. You will execute the Ruemioes Asset Purchase Agreement today.
. Proceeds from the sale to eeewill be placed into escrow.

. PA (Parts Authority) will be paid 100k out of escrow.

. Summit Rock Holdings (SRH) will be paid 80K out of escrow.

. My past CP Rework will be paid.

. My future work for CPKA@RBR will be paid.

. lf Alice leaves 3#quve will split the cost of my work,

10, A full accounting (A partial accounting is not acceptable)

11. Federal, State, local and personal tax filings are correctly restated.

12. Tax withholding on payments to foreign persons are satisfied

13. Distributions can then be taken.

 

 

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